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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MCCONNELL DORCE ET AL.,
                    Plaintiffs,
                                                  19-cv-2216 (JGK)
            - against -
                                                  OPINION AND ORDER
CITY OF NEW YORK ET AL.,
                    Defendants.

JOHN G. KOELTL, District Judge:

       McConnell Dorce, Cecelia Jones, and Sherlivia Thomas-

Murchison brought this putative class action against the City of

New York (the "City"); Louise Carroll, Commissioner of the New

York City Department of Housing Preservation and Development

("HPD"); Sherif Soliman, Commissioner of the New York City

Department of Finance ("DOF")     (together with the City and

Carroll, the "City Defendants"); the Neighborhood Restore

Housing Development Fund Co. Inc.       ("Neighborhood Restore"); and

Bridge Street Kings Covenant Housing Development Fund Company,

Inc.   ("Bridge Street")   (together with Neighborhood Restore, the

"TPT Defendants"). Jones and Thomas-Murchison also name 585

Nostrand Avenue Housing Development Fund Corporation and 248

Madison Street Housing Development Fund Corporation,

respectively, as nominal parties in the event that their claims

cannot be maintained as direct actions.

       In brief, the plaintiffs allege that the defendants used

and conspired to use in rem proceedings to seize the plaintiffs'


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properties based on asserted tax debts, and that the defendants

have failed to compensate the plaintiffs for the excess value of

their properties, in violation of the plaintiffs' rights under

the United States Constitution, the New York State Constitution,

and New York State law. Pursuant to Rules 12 (b) ( 1) and 12 (b) ( 6)

of the Federal Rules of Civil Procedure, the defendants now move

to dismiss the plaintiffs' claims for lack of subject matter

jurisdiction and for failure to state a claim. For the reasons

that--follow, th-e--ffiotion to disrrirss is granted-in part and -deiiied

in part. 1

                                     I.

      The following facts are taken from the Amended Complaint

and are accepted as true for the purposes of this motion.

                            A. Factual Background

                             1. The TPT Program

      In New York State, after a certain period, unpaid property

taxes become "tax liens," upon which "tax districts" may

collect. 2 Am. Compl.   ~   36, ECF No. 91. 3 In 1939, the New York

State Legislature passed a law ("Tax Law§ 165"), granting tax



       1 Two separate motions to dismiss were filed in this case~ the first by
the City Defendants and the second by the TPT Defendants.
       2 A "tax district" includes "a county, city, town, village, school
district or special district, having the power to levy, assess and enforce
the collection of taxes, special ad valorem levies, special assessments or
other charges imposed upon real property by or on behalf of a municipal
corporation or special district." N.Y. Real Prop. Tax Law§ 910.
       3 Unless otherwise noted, this Opinion and Order omits all alterations,
citations, footnotes, emphases, and internal quotation marks in quoted text.

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districts the power to collect tax liens using in rem

proceedings. Id. t 35. 4 In 1948, the City enacted its own in rem

foreclosure procedures to collect on tax liens within New York

City. Id. t 37.

     In 1996, the New York City Council enacted Local Law No.

37, which created the Third Party Transfer Program (the "TPT

Program"). Id. , , 43-44. Pursuant to the TPT Program, when the

City obtains a judgment of foreclosure and sale, the DOF may

trariiffer title to the foreclosed-upon -property to-The City or-to

a third party designated by the HPD to participate in the TPT

Program (a "TPT Partner"). See id. , , 2, 43, 54. Under§ 11-

412.l(c) of the New York City Administrative Code (the

"Administrative Code"), a TPT Partner may receive title to the

property in fee simple absolute after the expiration of a

statutory four-month redemption period following the award of

judgment. Id.   t 52. The TPT Partner does not pay the City
anything in exchange for this transfer of ownership, and makes

no payment towards the underlying tax lien for which the City

initiated the in rem proceeding. Id. t 53. The original owner of

the property receives nothing for the value of the transferred

property in excess of the value of the tax lien (the "surplus

equity"). Id. t 54. The City's authority to use such in rem



      4 Tax Law§ 165 is codified as§ 1120 of the Real Property Tax Law of
New York Consolidated Laws. See Am. Compl. ~ 35.

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proceedings to collect tax liens and to administer the TPT

Program is codified in Title 11, Chapter 4 of the Administrative

Code. Id.       ~   37; N.Y.C. Admin. Code§ 11-401 et seq.

      Today, the City includes in the TPT Program both (1)

properties that meet the statutory definition of "distressed,"

and (2) properties that are located near distressed properties

and that are tax delinquent but that do not themselves meet the

statutory definition of "distressed." Am. Comp 1.            ~~    3, 4 7, 50,

65. "Di-stressed-properties" are -defined in Local -Law No:---37 as

          [a] ny parcel of class one or class two real property
          that is subject to a tax lien or liens with a lien or
          liens to value ratio, as. determined by the commissioner
          of [the DOF], equal to or greater than fifteen percent
          and that meets one of the following two criteria:

          i.    such parcel has an average of five or more hazardous
                or immediately hazardous violations of record of
                the housing maintenance code per dwelling unit; or
          ii.   such parcel is subject to a lien or liens for any
                expenses incurred by the [HPD] for the repair or
                the elimination of any dangerous or unlawful
                conditions therein, pursuant to section 27-2144 of
                this code, in an amount equal to or greater than
                one thousand dollars.

Id.   ~    44; N.Y.C. Admin. Code§ 11-401.

          The plaintiffs allege that, in recent years, the City

Defendants, working in concert with the TPT Defendants, have

used the City's in rem powers and the TPT Program to deprive

owners - and, in particular, elderly owners of color 5 -               of their


      5 The plaintiffs define a community of color as "a community

predominantly populated by African Americans, Caribbean Americans, Hispanic
Americans and Middle Eastern Americans." See Am, Compl. 1.ILII 7, 12, 1 7, 7 4,

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property rights in order to advance the housing agenda of the

City and the Mayor and to "reward political allies" among the

TPT Partners. See Am. Coml.           ~~   1, 26, 61, 169. According to the

plaintiffs, the City and TPT Defendants have systematically

targeted properties with little tax debt relative to their

property value within communities of color for seizure through

the TPT Program. See id.        ~~    170-71, 306. The plaintiffs allege

that homeowners of color are targeted because, among other

-reasons; the de-fendants believe that -such homeowners -are "le-ss

likely to have the resources to mount legal challenges" and to

have the abilities to fight the defendants' tactics. Id.                  ~   217.

As evidence of this scheme, the plaintiffs allege that in the

latest round of the TPT Program, the total market value of the

210 non-statutorily distressed properties selected for the TPT

 Program was nearly $152 million, whereas the total amount of

arears owed on such properties was just over $4.5 million. Id.                       ~

 175. Moreover, of the properties selected in this latest round

 of the TPT Program, the plaintiffs allege that approximately 50%

were located in just 11 neighborhoods, all of which the

plaintiffs characterize as communities of color. Id.                 ~   222. The

 plaintiffs further allege that, as part of the City and TPT

 Defendants' scheme, the DOF intentionally and systematically



 100, 126. This Court accepts this definition for the purposes of this motion.
 See Dorce v. City of New York, 2 F.4th 82, 88 n.1 (2d Cir. 2021).

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manipulated property values so as to be able to designate a

targeted property as "distressed," or else to designate a

targeted property as "near" a distressed property, in order

eventually to foreclose upon and transfer such property under

the TPT Program. Id.        ~    177; see, e.g., id.   ~~   179-87.

        The plaintiffs claim that there is no real mechanism for a

former owner to seek or regain their surplus equity after the

property has been transferred under the TPT Program. Id.                   ~   193.

The two apparent means by which the. foreclosed::.-upon owners may

redeem their properties -           through instalment agreement or full

payment, see N.Y.C. Admin. Code§ 11-412.l(d) -                are, according

to the plaintiffs, illusory. 6 As Dorce experienced, the

instalment agreement avenue is not always respected, Am. Compl.

~~    199-206, and the defendants do not always accept former

homeowners' attempts to redeem their property through full

payment, id.     ~   209.

        According to the plaintiffs, this alleged misuse of the TPT

Program has stripped away "intergenerational black and brown

wealth" and has contributed to steep racial disparities in

homeownership.       Id.    ~~   178, 227-28.




      6 The Amended Complaint suggests that there is a third option: engaging
in a hurried sale of the property. Am. Compl. 1 195. Neither the plaintiffs
nor the defendants refer to this option in their briefs. Moreover, there is
no apparent support for this option in the relevant statute.

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                       2. The Named Plaintiffs

     The named plaintiffs are people of color whose properties

were transferred to one of the TPT Defendants pursuant to the

TPT Program. All three plaintiffs allege that the TPT Defendants

consulted with the City Defendants concerning the selection and

targeting of their properties for inclusion in the TPT Program.

See id. ]] 26-28, 51, 93, 124, 155, 212.

     McConnell Dorce is an elderly Caribbean-American immigrant.

ld. ] 74. Between T977 and 2018, Dorce was the owner of property-

located at 373 Rockaway Parkway (the "Rockaway Property"), in

Brooklyn, New York, a community of color. Id.; see id. ] 84.

Since 2012, Dorce owned the Rockaway Property free and clear of

any mortgage. Id. ] 75. Sometime after 2012, Dorce incurred

water and sewage charges for the Rockaway Property and entered

into a written instalment agreement with the City to pay the

outstanding charges. Id. ] 77. Dorce made all of the instalment

payments to the City on time. Id. Notwithstanding this, and

unbeknownst to Dorce, on July 14, 2015, the City commenced in

rem proceedings against more than 180 properties, including the

Rockaway Property, pursuant to the TPT Program. Id. ]] 78-79,

85. On November 27, 2017, Justice Partnow of the New York State

Supreme Court signed the foreclosure judgment against 65

properties, including the Rockaway Property. Id. ] 80. On

September 21, 2018, the City, through DOF, recorded a deed in

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the Rockaway Property's chain of title, transferring the

Rockaway Property to Neighborhood Restore. Id. i         84. Following

the entry of the foreclosure judgment, and even after the

transfer, Dorce continued to tender instalment payments to the

City, and the City accepted those payments without notifying

Dorce that the Rockaway Property had been foreclosed upon or

that ownership of Rockaway Property had been transferred to

Neighborhood Restore. Id. i 94. On or about September 24, 2018,

Dorce finally learnea that his ownership of the-Rockawa:y-

Property had been extinguished. Id. i 88. According to the DOF,

the value of the Rockaway Property at the time of its transfer

was approximately $226,000, whereas Dorce's tax liability was

$45,132.73 as of June 2015. Id. i 9. Dorce has since lost all of

his equity in the Rockaway Property. Id. i 93.

     Cecelia Jones is an elderly Caribbean-American woman. Id.

i 100. Since 1997, Jones owned shares in a housing development

fund corporation ("HDFC"), located at 1197 Dean Street in

Brooklyn -   also known as 585 Nostrand Avenue (the "Nostrand

Avenue Property" or the "Nostrand Avenue HDFC") -          and lived in

an apartment unit pursuant to a proprietary lease appurtenant to

her shares in the HDFC. Id. i i 13, 100. An HDFC is a co-

operative corporation organized under New York State law to

improve housing and homeownership and to keep units affordable

to working families. Id. i 40. Shareholders like Jones paid

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  maintenance fees to the HDFC, which used those fees to pay real

  estate taxes and water and sewage charges assessed by the City.

  Id.   ~    102. By June 2015, the Nostrand Avenue HDFC had incurred

  various tax and water charges worth approximately $160,760.20.

  Id.   ~    16. However, by this time, the Nostrand Avenue HDFC had no

  functioning board or board members. Id.          ~~   272-74.

            On July 14, 2015, in the same action taken against the

  Rockaway Property, the City commenced in rem proceedings against

--- -the Nostrand Avenue--Property. Id. --~ ·105. The foreclosure

  judgment included the Nostrand Avenue Property, id. ~ 106, and

  on September 21, 2018, the City, through the DOF, recorded a

  deed in the chain of title of the Nostrand Avenue Property,

  transferring it to Neighborhood Restore, id.            ~    110. Jones was

  subsequently converted into a renter of her apartment, and her

  maintenance payments were converted to rental payments. Id.

  ~   115. Sometime in around October 2018, Jones learned for the

  first time that ownership of the Nostrand Avenue Property had

  been transferred to Neighborhood Restore. Id.               ~~   111, 114. The

  DOF's valuation of the Nostrand Avenue Property at this time was

  $736,000. Id.      ~   120. Jones has lost all of her equity in the

  Nostrand Avenue HDFC. Id.        ~~   15, 124.

            Sherlivia Thomas-Murchison is an African-American woman.

  Id.   ~    126. Thomas-Murchison owned shares in an HDFC located at

  248 Madison Street (the "Madison Street Propertyn or the

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"Madison Street HDFC"), in Brooklyn. Id. 'll 126. Thomas-

Murchison's extended family lived in an apartment unit at the

Madison Street Property pursuant to a proprietary lease

appurtenant to her shares in the Madison Street HDFC. Id.

Thomas-Murchison's mother also owned shares in the Madison

Street HDFC, and Thomas-Murchison and her mother lived at the

Madison Street Property together pursuant to a proprietary lease

appurtenant to the mother's shares in the HDFC. Id. 'll 127. Upon

h-er mother's death, Thomas-"Murchison and her family inherited an

equitable estate interest in the Madison Street Property. Id.

Shareholders of the Madison Street HDFC paid maintenance fees to

the HDFC, which used those fees to pay real estate taxes and

water and sewage charges assessed by the City. Id. 'll 129. By

2007, the Madison Street HDFC had incurred $110,352.44 in water,

property tax, and emergency repair charges. Id. 'll 21. Like the

Nostrand Avenue HDFC, the Madison Street HDFC had also long

lacked a functioning board or board members. Id. 'll'll 282-85.

     On October 26, 2011, Justice Martin of the New York State

Supreme Court signed a foreclosure judgment against the Madison

Street Property after the City had commenced in rem proceedings

against it. Id. 'll 131. On August 24, 2012, the City, through

DOF, entered a deed in the chain of title of the Madison Street

Property, and transferred the Madison Street Property to

Neighborhood Restore. Id. 'll 135. On February 29, 2016,

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Neighborhood Restore deeded the Madison Street Property to

Bridge Street with the City's approval. Id. ] 138. Sometime in

or around April 2016, Thomas-Murchison learned for the first

time that ownership of the Madison Street Property had been

transferred from the HDFC. Id. ] 141. In May 2016, Bridge

Street's managing agent informed Thomas-Murchison that she was

being converted into a renter, and that her maintenance payments

would be converted into rental payments. Id. ] 142.

     The DOF's valuation-of the Madison Street-Property in 2012

was $398,000. Id. ] 150. Thomas-Murchison has since lost all of

her equity in the Madison Street HDFC, and has additionally been

dispossessed from residency at the Madison Street Property. Id.

] 157. Meanwhile, Bridge Street has since borrowed more than $11

million pursuant to two separate mortgages that were secured, at

least in part, by the Madison Street Property. Id. ] 139.

     All three plaintiffs allege that they did not receive

notice of the in rem proceedings against their properties. Id.

]] 88, 111, 143. While the City alleges in each case that it

provided notice of the foreclosure to the plaintiffs or to the

relevant HDFC, the plaintiffs allege that they did not receive

such notice and, in any event, that the claimed notice in each

case was deficient. Id. ]] 86, 112, 144. In Dorce's case, the

claimed notice was not sent to his current residence             which he

claims the City Defendants knew or should have known             and was

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addressed to a multi-unit building without any unit number. Id.

~   86. In Jones' case, the claimed notice sent to the Nostrand

Avenue HDFC was not addressed to any particular person or unit,

and was addressed to a partial version of the HDFC's name. Id.                         ~


112. And in Thomas-Murchison's case, the notice allegedly

provided to the Madison Street HDFC was not addressed to any

particular person or unit. Id. ~ 144. As a result of this, the

plaintiffs each allege that that they were deprived of the

opportunity to -redeem their properties by exei:cising their- right

to the "equity of redemption." Id.              ~~   87, 113, 145. The

plaintiffs allege in each case that the defendants were aware

that notice was deficient. Id.        ~~       85, 111, 143.

       None of the plaintiffs received any compensation from the

Municipal or TPT Defendants for the surplus equity they owned in

their respective properties. Id.           ~    73. Dorce alleges that he was

deprived of at least $180,000 in surplus equity, id.                   ~   91; Jones

alleges that she was deprived of her pro rata share of over

$575,000 in surplus equity, id.        ~~       121, 123; and Thomas-

Murchison alleges that she was deprived of her pro rata share of

over $285,000, id.      ~~   152, 154. Given the plaintiffs' claim that

the defendants manipulate the market value of targeted

properties, the plaintiffs allege that the amount of surplus

equity of which they were deprived in reality is substantially

higher. Id.     ~~   90-92, 120-22, 150-53.

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                        B. Procedural History

      On March 11, 2019, the plaintiffs filed a putative class

action against the defendants, seeking prospective equitable

relief and various types of damages arising from the defendants'

conduct. ECF Nos. 1. On May 15, 2019, the defendants moved to

dismiss the complaint for lack of subject matter jurisdiction

and for failure to state a claim. ECF No. 35. On May 17, 2020,

this Court granted the defendants' motions to dismiss on the

grourids that- the Court lacked subject matter j uiisdictiOfi over

the plaintiffs' federal claims     (1) under the Rooker-Feldman

doctrine,   (2) under the Tax Injunction Act ("TIA") and the

doctrine of comity, and (3) because the plaintiffs lacked

standing to seek prospective equitable relief. Dorce v. City of

New York, 460 F. Supp. 3d 327 (S.D.N.Y. 2020). The Court also

declined to exercise supplemental jurisdiction over the

plaintiffs' nonfederal claims. Id. at 345. The plaintiffs

appealed, and, on June 23, 2021, the court of appeals affirmed

in part and reversed in part. Dorce v. City of New York, 2 F.4th

82   (2d Cir. 2021). The court of appeals agreed that the

plaintiffs lacked standing to seek declaratory and injunctive

relief, but reversed this Court's finding that the TIA and

comity barred all of the plaintiffs' claims. See id. at 95-101.

The court of appeals also held that Rooker-Feldman did not bar

the plaintiffs' equal protection and due process claims, or

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their second takings claim - that their properties were taken

for a public purpose without just compensation - "to the extent

that for each of those claims,      [the plaintiffs] seek only the

value of their lost property in excess of the amount owed in

taxes." Id. at 104-05; see also id. at 101-08. However, Rooker-

Feldman barred the plaintiffs from asserting their first takings

claim - that their properties were taken in violation of the

administrative regulations governing the TPT program. Id. at

105---'06. The courfof appeals remanded the case for further

proceedings. Id. at 108.

      On September 15, 2021, the plaintiffs filed the Amended

Complaint. ECF No. 81; see also ECF No. 91. The plaintiffs

brought the following claims against all of the defendants:             (1)

violation of the Takings Clause of both the United States and

New York State Constitutions;      (2) violation of the Equal

Protection Clause of both the United States and New York State

Cons ti tut ions;   ( 3) violation of the Due Process Clause of both

the United States and New York State Constitutions;            (4)

violation of the Excessive Fines Clause of both the United

States and New York State Constitutions;        (5) conspiracy to

deprive the plaintiffs of their constitutional rights to equal

protection under the law in violation of 42 U.S.C. § 1985(3);

(6) conversion under New York State law;        (7) unjust enrichment

under New York State law;      (8) deceptive practices in violation

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of New York State General Business Law§ 349; and (9) civil

conspiracy in violation of New York State law. The plaintiffs

also bring a claim for (10) violation of Article II of New York

State's Municipal Home Rule Law against the City Defendants

only.

        Neither Jones nor Thomas-Murchison made a demand to pursue

this action on their respective HDFCs prior to filing the

Amended Complaint. See Am. Compl. 11 268, 278. Both allege that

such -demand would- have been futile,    id.-, because; among other

things, neither HDFC had a functioning board upon which demand

could have been made, id. 11 269-76, 279-87.

        The defendants now move to dismiss for lack of subject

matter jurisdiction and for failure to state a claim upon which

relief can be granted. ECF Nos. 112, 118.

                                   II.

                                   A.

        When presented with motions under Rule 12(b) (1) to dismiss

for lack of subject matter jurisdiction and Rule 12(b) (6) to

dismiss for failure to state a claim upon which relief can be

granted, the Court should consider the jurisdictional challenge

first. See Rhulen Agency, Inc. v. Ala. Ins. Guar. Ass'n, 896

F. 2d 674, 678   (2d Cir. 1990).

        To prevail against a motion to dismiss for lack of subject

matter jurisdiction, the plaintiff bears the burden of proving

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the Court's jurisdiction by a preponderance of the evidence.

Makarova v. United States, 201 F. 3d 110, 113 (2d Cir. 2000). In

considering such a motion, the Court generally must accept the

material factual allegations in the complaint as true. See J.S.

ex rel. N.S. v. Attica Cent. Sch., 386 F.3d 107, 110 (2d Cir.

2004). The Court does not, however, draw all reasonable

inferences in the plaintiff's favor. Id. Indeed, where

jurisdictional facts are disputed, the Court has the power and

the obligation-to consider matters -outside the pleadings to -

determine whether jurisdiction exists. See Kamen v. Arn. Tel. &

Tel. Co., 791 F.2d 1006, 1011 (2d Cir. 1986). In so doing, the

Court is guided by that body of decisional law that has

developed under Rule 56. See id.

                                   B.

                                   1.

     The defendants first move to dismiss the plaintiffs'

Municipal Horne Rule, due process, conversion, and unjust

enrichment claims for lack of subject matter jurisdiction under

the Rooker-Feldman doctrine. The Rooker-Feldman doctrine

provides that "federal district courts lack jurisdiction over

suits that are, in substance, appeals from state-court

judgments." Hoblock v. Albany Cnty. Bd. of Elections, 422 F.3d

77, 84   (2d Cir. 2005). The doctrine applies if four requirements

are met:

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    (1) the federal-court plaintiff lost in state court; (2)
    the plaintiff complains of injuries caused by a state
    court judgment; (3) the plaintiff invites review and
    rejection of that judgment; and (4) the state judgment
    was rendered before the district court proceedings
    commenced.

Vossbrinck v. Accredited Home Lenders, Inc., 773 F.3d 423, 426

(2d Cir. 2014). The first and fourth requirements are

procedural, while the second and third are substantive. Hoblock,

422 F.3d at 85. The second requirement is the "core requirement"

from which the other requirements derive. Id. at 87. "[A]

federal suit complains of injury from a state-court judgment,

even if it appears to complain only of a third party's actions,

when the third party's actions are produced by a state-court

judgment and not simply ratified, acquiesced in, or left

unpunished by it." Id. at 88.

     In this case, the Rooker-Feldman doctrine does not affect

the Court's subject matter jurisdiction over the plaintiffs'

claims, because Rooker-Feldman's substantive requirements are

not met for any of the challenged claims.

                      a. Municipal Home Rule Claim

     The plaintiffs allege that the City Defendants' conduct in

administering the TPT Program exceeded the City's powers under

the Municipal Home Rule Law. The Municipal Home Rule Law sets

forth the general powers of local New York governments to "adopt

and amend local laws not inconsistent with the provisions of the


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constitution or not inconsistent with any general law." N.Y.

Mun. Home R. Law§ 10(1) (i). A law violates the Municipal Home

Rule Law if it is inconsistent with the New York State

Constitution.

     The plaintiffs' claim pursuant to the Municipal Home Rule

Law is premised on the City Defendants' alleged seizure and

retention of the plaintiffs' surplus equity. 7 So construed, the

plaintiffs' Municipal Home Rule claim is not barred by Rooker-

Feldman. The second Rooker-Feldman requirement is not met,

because the City Defendants' failure to return the plaintiffs'

surplus equity, or else to compensate the plaintiffs therefor,

was not caused by the state court foreclosure judgment, "but by

the City's decision to include the properties in the TPT Program

and transfer them to a third party, and by the TPT Program's

allegedly inadequate mechanism for seeking compensation for the

excess value of the property following foreclosure." See Dorce,

2 F.4th at 105. Moreover, through this claim, the plaintiffs


      7 In the Amended Complaint, the plaintiffs appear also to challenge the
foreclosures of their properties pursuant to the Municipal Home Rule Law,
because their properties allegedly did not meet the statutory definition of
"distressed" or because the City allegedly deviated from the administrative
requirements governing the TPT Program in foreclosing upon their properties.
See Am. Cornpl. 11 375-76. However, the plaintiffs have abandoned this claim
in their opposition brief. Moreover, the Court lacks subject matter
jurisdiction over this claim pursuant to the Rooker-Feldman doctrine. First,
the injury complained of in such a claim "is the loss of their property,
which was caused by the state court judgments that divested them of that
property." See Dorce, 2 F.4th at 105. Second, this claim would require the
Court to analyze whether the foreclosure proceeding was initiated properly
under the Administrative Code's provisions, and therefore invites the Court
to determine whether the state court's entry of judgment was valid. See id.
This satisfies Rooker-Feldman's substantive requirements.

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seek "compensation only for the excess value of their property

above the taxes and fees that they owed, not the return of their

property or the full value of their property." See id.; see Am.

Compl. 76-77   (prayer for relief). "That injury was caused not by

the judgment of forfeiture, but by the [City Defendants']

actions following upon the forfeiture, by transferring the

foreclosed-on property to the [TPT Defendants) while failing to

provide a mechanism for limiting [the plaintiffs') losses to the

amount owed in-taxes."-See Dorce, 2 F.4th at 105.

     Nor is the third Rooker-Feldman requirement met. The Court

need not review the state court judgment to determine whether

the City Defendants' conduct in "seizing and retaining" the

plaintiffs' surplus equity exceeded the City's authority under

the Municipal Home Rule Law. The state court judgment did not

address whether the plaintiffs were compensated for their

surplus equity or whether the City's seizure and retention of

such equity would be unlawful. See id. Indeed, the alleged

seizure and retention of the plaintiffs' surplus equity would

have occurred, if at all, only after the foreclosure judgment

was entered. See id. Accordingly, the third Rooker-Feldman

requirement is unmet as to the plaintiffs' Municipal Home Rule

claim, and Rooker-Feldman does not deprive the Court of subject

matter jurisdiction over this claim.




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                          b. Due Process Claim

     The plaintiffs allege that the defendants violated the

plaintiffs' rights to procedural due process under the Fifth and

Fourteenth Amendments of the United States Constitution and

Article I, Section 6 of the New York State Constitution. "A

procedural due process claim is composed of two elements:            (1)

the existence of a property or liberty interest that was

deprived and (2) deprivation of that interest without due

j:frocess."Bryant-v. N.Y. State Educ. Dep't, 692--F.3d 202, 218

(2d Cir. 2012). The plaintiffs in this case allege both that the

notice provisions of the TPT Program fall short of those

required under the United States and New York State

Constitutions, and that the City failed to provide the

plaintiffs in this case with adequate notice of the in rem

proceedings against them. The court of appeals affirmed this

Court's prior ruling that Rooker-Feldman was no bar to the

latter challenge. See Dorce, 2 F.4th at 106-08. As to the

former,   facial challenge, the court of appeals stated that,

"[t]o the extent that [the plaintiffs] seek monetary relief for

the past injury of being subjected to the allegedly

unconstitutional provisions, that claim overlaps with their

first claim that they were not given adequate notice, and the

earlier Rooker-Feldman analysis applies." Id. at 108.




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     While the defendants interpret the court of appeals'

statement as meaning that Rooker-Feldman bars the plaintiffs'

facial challenge, that is not a fair reading of the court of

appeals' statement. Fairly read, the court of appeals' statement

permits the plaintiffs' claim to proceed to the extent that the

plaintiffs seek monetary relief, which they plainly do. See Am.

Compl.   ~~   319, 352; see also id. at 76-77. In any event, Rooker-

Feldman does not bar the plaintiffs' facial due process

challenge. The Court need not review the state court judgment to

determine whether the provisions of the Administrative Code are

facially unconstitutional for lack of proper notice. Cf. Nelson

v. City of New York, 352 U.S. 103, 110 (1956)        (analyzing the

constitutionality of the Administrative Code's provisions

without relying on the state court's entry of a foreclosure

judgment). Accordingly, the third requirement of Rooker-Feldman

is not met, and the plaintiffs' facial challenge, to the extent

it seeks only monetary relief,     is not foreclosed by the Rooker-

Feldman doctrine.

               c. Conversion and Unjust Enrichment Claims

     The plaintiffs also allege that the defendants unlawfully

converted their surplus equity and were unjustly enriched at the

plaintiffs' expense by the defendants' taking of the plaintiffs'

surplus equity. To state a claim for conversion, a plaintiff

must allege "(l) the property subject to conversion is a

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specific identifiable thing;     ( 2) plaintiff had ownership,

possession or control over the property before its conversion;

and (3) defendant exercised an unauthorized dominion over the

thing in question, to the alteration of its condition or to the

exclusion of the plaintiff's rights." Kirschner v. Bennett, 648

F. Supp. 2d 525, 540 (S.D.N.Y. 2009). To state a claim for

unjust enrichment, a plaintiff must allege that "(l) the other

party was enriched,   (2) at that party's expense, and (3) that it

is against equity arid good conscience       to permit the other party
to retain what is sought to be recovered." City of Almaty v.

Sater, 503 F. Supp. 3d 51, 59 (S.D.N.Y. 2020).

     In this case, the Rooker-Feldman doctrine does not deprive

the Court of subject matter jurisdiction over the plaintiffs'

claims for conversion and unjust enrichment. First, the injuries

of which the plaintiffs complain in their conversion and unjust

enrichment claims were not caused by the state court judgment.

The defendants' control of the plaintiffs' surplus equity, and

their failure to compensate the plaintiffs therefor, was caused

instead -   like the injury complained of in their Municipal Home

Rule claim -   "by the City's decision to include the properties

in the TPT Program and transfer them to a third party, and by

the TPT Program's allegedly inadequate mechanism for seeking

compensation for the excess value of the property following

foreclosure." See Dorce, 2 F.4th at 105. Moreover, and similar

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again to the plaintiffs' Municipal Horne Rule claim, the

plaintiffs do not through these claims seek to void the state

court foreclosure judgment, but seek compensation only for their

surplus equity. And this injury, too, was caused by the City's

actions following upon the forfeiture, as opposed to the

forfeiture itself. The second Rooker-Feldman requirement is

therefore unmet as to the plaintiffs' claims for conversion and

unjust enrichment.

     Adjudicating the.conversion and unjust-enrichment claims

also does not require the Court to review the state court

judgment, and Rooker-Feldman's third requirement is therefore

unmet. The state court judgment foreclosing upon the plaintiffs'

properties did not address whether the defendants' control of

the plaintiffs' surplus equity was unlawful, and again,

"compensation was not necessary prior to the transfer, which

occurred after the foreclosure judgment was entered." See id. In

all, the plaintiffs' conversion and unjust enrichment claims are

not barred by Rooker-Feldman. Cf. Gordon v. First Franklin Fin.

Corp., No. 15-cv-0775, 2016 WL 792412, at *5 (E.D.N.Y. Feb. 29,

2016) .

      Accordingly, the motion to dismiss for lack of subject

matter jurisdiction is denied to the extent it seeks to dismiss

the plaintiffs' Municipal Horne Rule, due process, conversion,




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and unjust enrichment claims as barred under the Rooker-Feldman

doctrine.

                                    2.

     The defendants also argue that the claims asserted by Jones

and Thomas-Murchison must be dismissed for lack of standing. To

satisfy the constitutional requirement of Article III standing,

a plaintiff must show that (1) the plaintiff "suffered an injury

in fact that is concrete, particularized, and actual or

imminent;" (2)   "the injury was Tikely caused by the defendant;"

and (3)   "the injury would likely be redressed by judicial

relief." TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203

(2021). Where a plaintiff seeks to bring a claim derivatively on

behalf of a corporation of which he is a shareholder, as opposed

to directly on behalf of himself, the plaintiff must satisfy two

additional requirements. See Donoghue v. Bulldog Invs. Gen.

P'ship,   696 F.3d 170, 175 (2d Cir. 2012). "First, because a

derivative action generally is a mere procedural device to

enforce substantive rights belonging to the [corporation], there

must be injury in fact to that real party in interest." Id. at

175-76. Second, the shareholder must maintain a personal

financial interest in the outcome of the litigation. Id. at 176.

     In this case, Jones and Thomas-Murchison bring their claims

directly, and in the alternative, derivatively on behalf of the

HDFCs of which they are shareholders. In either case, they have

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standing to bring the claims in this matter. To the extent that

the plaintiffs assert claims personal to themselves -          such as

the transfer of their personally owned shares in the corporation

- these injuries are sufficiently "personal and individualn to

them to constitute injury-in-fact. See Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560 n.1 (1992); Bingham v. Zolt,           66 F.3d

553, 562 (2d Cir. 1995).

     Moreover, to the extent that the plaintiffs assert claims

on behalf ~f the HDFC, -they h~ve satisfied the r~quire~ents t6

bring a derivative action. First, the HDFC on whose basis the

action is asserted plainly suffered an injury-in-fact in the

form of the foreclosure and transfer of its property. Second,

the plaintiffs, as shareholders, continue to have a personal

financial interest in the outcome of the litigation, in that the

award of damages to the HDFC as a result of the constitutional

and statutory violations alleged would inure to the benefit of

shareholders. While the defendants dispute that Thomas-Murchison

was in fact a shareholder of her HDFC, a plaintiff must

establish standing "in the same way as any other matter on which

the plaintiff bears the burden of proof, i.e., with the manner

and degree of evidence required at the successive stages of the

litigation.n Lujan, 504 U.S. at 561. Thus, at the pleading

stage, a plaintiff need only allege the elements of standing,

and as on a motion to dismiss for failure to state a claim, the

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Court "accept[s] as true all material allegations of the

complaint, and must construe the complaint in favor of the

complaining party." W.R. Huff Asset Mgmt. Co., LLC v. Deloitte &

Touche LLP, 549 F.3d 100, 106 (2d Cir. 2008). Thomas-Murchison

has adequately pleaded that she was a shareholder of the HDFC in

the Amended Complaint, and this suffices at this stage.

     The statutory requirements of derivative standing are also

met. Federal Rule of Civil Procedure 23.1 requires that the

plaintiff "fairly and adequately represent the interests Of

shareholders or members who are similarly situated in enforcing

the right of the corporation or association," Fed. R. Civ. P.

23.l(a), and that the complaint allege (1) "that the plaintiff

was a shareholder or member at the time of the transaction

complained of, or that the plaintiff's share or membership later

devolved on it by operation of law;" (2) "that the action is not

a collusive one to confer jurisdiction that the court would

otherwise lack;" and (3) state with sufficient particularity

"any effort by the plaintiff to obtain the desired action from

the directors or comparable authority and.           . the reasons for

not obtaining the action or not making the effort," Fed. R. Civ.

P. 23.l(b). The defendants dispute only the last element.

     Because the plaintiffs concede that they did not make a

demand on the relevant HDFCs, they must assert that demand on

the HDFC would have been be futile under New York State law. See

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Kamen v. Kemper Fin. Servs., Inc., 500 U.S. 90, 108-09 (1991)

(noting that pre-suit demand requirements, and the futility

exceptions thereto, are governed by the law of the state of

incorporation). In New York, "[d]emand is excused because of

futility when a complaint alleges with particularity that the

board of directors did not fully inform themselves about the

challenged transaction to the extent reasonably appropriate

under the circumstances." Bansbach v. Zinn, 801 N.E.2d 395, 401

(N. Y. 2003). -Accordingly, by alleging that the relevant HDFCs

lacked functioning boards, and otherwise failed to challenge the

foreclosure, the plaintiffs have plausibly alleged demand

futility. See id.; In re Comverse Tech., Inc., 866 N.Y.S.2d 10,

16 (App. Div. 2008)   (finding that the plaintiffs had

sufficiently alleged that the board of directors had failed to

stay informed of the challenged transaction where they did not

even do a "cursory check or inquiry" into the transaction). The

plaintiffs have therefore adequately pleaded derivative standing

sufficient to withstand a motion to dismiss.

     The motion to dismiss is denied to the extent it is based

on lack of constitutional standing, or for failure to meet the

requirements of derivative standing.




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                                  III.

                                   A.

     The Court therefore proceeds to the merits of the

plaintiffs' claims. In deciding a motion to dismiss pursuant to

Rule 12(b) (6), the allegations in the complaint are accepted as

true, and all reasonable inferences must be drawn in the

plaintiffs' favor. McCarthy v. Dun       &   Bradstreet Corp., 482 F.3d

184, 191 (2d Cir. 2007). The Court's function on a motion to

dismiss is "not to weigh the evidence that might be presented-at

a trial but merely to determine whether the complaint itself is

legally sufficient." Goldman v. Belden, 754 F.2d 1059, 1067 (2d

Cir. 1985). The Court should not dismiss the complaint if the

plaintiff has stated "enough facts to state a claim to relief

that is plausible on its face." Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007).

                                   B.

     The defendants move to dismiss each of the plaintiffs'

claims for failure to state a claim. The plaintiffs allege that

the defendants violated four constitutional provisions: the

Takings Clause, the Due Process Clause, the Equal Protection

Clause, and the Excessive Fines Clause. In addition, the

plaintiffs allege that the defendants conspired against the

plaintiffs to violate the plaintiffs' constitutional rights in

violation of both federal and state law, converted their rights

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to surplus equity in violation of state law, were unjustly

enriched at the plaintiffs' expense in violation of state law,

and - as to the City Defendants only - violated the Municipal

Home Rule Law by exceeding the City's authority in seizing and

retaining the plaintiffs' surplus equity. All of the plaintiffs'

claims except for their facial due process challenge and their

claim for conspiracy under New York State law are sufficient to

withstand the motion to dismiss.

                       1. Constitutional Claims

                              a. State Action

     The plaintiffs bring their federal constitutional claims

pursuant to 42 U.S.C. § 1983, and their state constitutional

claims pursuant to the New York State Constitution. Both

generally require that ~a litigant claiming that his

constitutional rights have been violated .           . first establish

that the challenged conduct constitutes state action." Fabrikant

v. French,   691 F.3d 193, 206 (2d Cir. 2012)       (United States

Constitution); see Under 21 v. City of New York, 482 N.E.2d 1, 7

n.6 (N.Y. 1985)   (New York State Constitution). The state action

requirement under the New York State Constitution is consonant

with, if not more flexible than, the state action requirement

under the United States Constitution. See id.; Sharrock v. Dell

Buick-Cadillac, 379 N.E.2d 1169, 1173 (N.Y. 1978). Accordingly,

because the plaintiffs satisfy the state action requirement

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under§ 1983, the plaintiffs have also alleged state action for

purposes of their state constitutional claims.

     In the Second Circuit, three main tests are considered to

determine whether the "actions of a nominally private entity are

attributable to the staten:

     (1) when the entity acts pursuant to the coercive power
     of the state or is controlled by the state ("the
     compulsion   test");   (2) when   the   state  provides
     significant encouragement to the entity, the entity is
     a willful participant in joint activity with the state,
     or the entity's functions are entwined with state
     policies ("the joint action test" or "close nexus
     test") ; or ( 3) when the entity has been delegated a
     public function by the state ( "the public function
     test") .

Fabrikant, 691 F.3d at 207. "The fundamental question under each

test is whether the private entity's challenged actions are

fairly attributable to the state." Id.

     In this case, the defendants do not dispute that the City

Defendants are state actors, and the plaintiffs have

sufficiently alleged that the TPT Defendants engaged in state

action under the "joint action" test. "In analyzing whether a

private entity acts under color of state law for purposes of

§ 1983," the Court begins "by identifying the specific conduct

of which the plaintiff complains, rather than the general

characteristics of the entity.n Id. The plaintiffs here allege

that the TPT Defendants violated their constitutional rights by

(1) taking and retaining the plaintiffs' surplus equity without


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compensation,   (2) targeting the plaintiffs on the basis of their

race for inclusion in the TPT Program and for seizure of their

surplus equity,   (3) failing to provide the plaintiffs with

proper process in regard to the defendants' taking of their

surplus equity, and (4) excessively fining the plaintiffs for

their tax liability by seizing their surplus equity. Taking the

plaintiffs' allegations as true, these actions by the TPT

Defendants constitute state action. These actions were produced,

if at all, onl9 joiritly with the City Deferidants, and pursuant

to a plan -   in which the TPT Defendants were not passive

participants - between the defendants to violate the plaintiffs'

rights. See Anilao v. Spota, 774 F. Supp. 2d 457, 498           (E.D.N.Y.

2011)   (stating that "[t]he touchstone of joint action is often a

plan, prearrangement, conspiracy, custom, or policy shared by

the private actor and the [state actor]," and noting that the

private actor must take an active role in the challenged

action), aff'd, 27 F.4th 855 (2d Cir. 2022). Specifically, the

plaintiffs allege, among other things, that the City and TPT

Defendants worked jointly in choosing which properties to target

for foreclosure, and conspired together to deprive the

plaintiffs of the surplus equity in the plaintiffs' properties

to advance the City's housing goals and to enrich the TPT

Defendants. These allegations suffice to allege plausibly that

the TPT Defendants' conduct constitutes state action within the

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meaning of§ 1983. Cf. Lugar v. Edmondson Oil Co., 457 U.S.             922,

941 (1982)   ("[A] private party's joint participation with state

officials in the seizure of disputed property is sufficient to

characterize that party as a state actor for purposes of the

Fourteenth Amendment."). The defendants' motion to dismiss the

federal and state constitutional claims against them, to the

extent the motion is based on the alleged lack of state action,

is accordingly denied.

                               b-. Takings

     The plaintiffs allege that the defendants' actions in

seizing their surplus equity constituted unconstitutional

takings under both the United States and New York State

Constitutions. Because the guarantees under the Takings Clause

of the United States Constitution and the New York State

Constitution are generally coextensive, the Court considers them

together. See Our Wicked Lady LLC v. Cuomo, No. 21-cv-165, 2021

WL 915033, at *3 n.5 (S.D.N.Y. Mar. 9, 2021).

     The Takings Clause of the Fifth Amendment to the United

States Constitution, made applicable to the states through the

Fourteenth Amendment, provides that "private property" shall not

"be taken for public use, without just compensation." U.S.

Const. amend. V; see Phillips v. Wash. Legal Found., 524 U.S.

156, 163-64 (1998); see also N.Y. Const. art. I, § 7. A property

owner states a claim for a violation of the Takings Clause when

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the plaintiff adequately alleges that the government took the

plaintiff's property for public use without paying for it. See

Knick v. Twp. of Scott, Pa., 139 S. Ct. 2162, 2170 (2019).

     The defendants' main argument in support of their motion to

dismiss the plaintiffs' takings claims is that the withholding

of surplus equity following an in rem foreclosure does not

constitute a "takingn within the meaning of the Takings Clause

so long as an opportunity to obtain such surplus is provided,

and that such an opportunity was in fact provided to each of the

plaintiffs in this case. The plaintiffs do not dispute the basic

premise of the defendants' argument that, where the foreclose-

upon owner had an adequate avenue for recovering the surplus

equity, a state actor's withholding of such surplus equity does

not violate the Takings Clause. Cf. Nelson, 352 U.S. at 110. The

crux of the parties' dispute as to the plaintiffs' takings

claims is whether there is, in fact, a process provided to

enable foreclosed-upon landowners to recover their surplus

equity in this case. See Coleman ex rel. Bunn v. District of

Columbia, 70 F. Supp. 3d 58, 80 (D.D.C. 2014)        (stating that

while "a Takings Clause violation regarding the retention of

equity will not arise when a tax-sale statute provides an avenue

for recovery of the surplus equity,n a Takings Clause violation

may arise where "the tax-sale statute does not provide a right

to the surplus and the statute provides no avenue for recovery

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of any surplus"}; Rafaeli, LLC v. Oakland Cnty., 952 N.W.2d 434,

453 (Mich. 2020).

     In this case, the plaintiffs adequately allege that no such

process for the recovery of their surplus equity exists, and

therefore they have adequately pleaded a violation of the

Takings Clause at this stage. The two apparent means by which

the foreclosed-upon owners may redeem their properties - through

instalment agreement or full payment, see N.Y.C. Admin. Code§

11-412.l(d} - are, according to-the plaintiffs, illusory.            First,

the plaintiffs allege, the instalment agreement process is

illusory, because - as happened with Dorce - an owner may enter

into an instalment agreement, timely provide the payments, and

still have the property and surplus equity seized without

redemption. Second, the plaintiffs allege that the defendants

will often reject former owners' attempts to redeem their

properties and surplus equity through full payment. Taking these

allegations as true - and given the fact that the plaintiffs

dispute that foreclosed-upon owners even receive notice of the

foreclosures - the plaintiffs' allegations suffice to

demonstrate that there is no real process for former owners to

recover their surplus equity. Accordingly, the defendants'

motion to dismiss, to the extent it seek dismissal of the

plaintiffs' takings claims, is denied.




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                          c. Equal Protection

    The plaintiffs also allege that the defendants' actions

violated their rights to equal protection under both the United

States and New York State Constitutions. Because the equal

protection guarantees of both Constitutions are similar, the

Court considers the federal and state claims together. See Our

Wicked Lady, 2021 WL 915033, at *3 n.5.

     The Equal Protection Clause of the United States

Constitution prOvides that no state shall "deny to any person

within its jurisdiction the equal protection of the laws." U.S.

Const. amend. XIV,   §   1; see also N.Y. Const. art. I,      §   11. The

Equal Protection Clause "is essentially a direction that all

persons similarly situated should be treated alike." City of

Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432, 439

(1985). To establish a violation of equal protection by

intentional discrimination, a plaintiff may "proceed in several

ways, including by pointing to a law that expressly classifies

on the basis of race, a facially neutral law or policy that has

been applied in an unlawfully discriminatory manner, or a

facially neutral policy that has an adverse effect and that was

motivated by discriminatory animus." Pyke v. Cuomo, 258 F.3d

107, 110 (2d Cir. 2001). In order to state a claim, the

plaintiff generally need not allege the "existence of better

treated, similarly situated persons of a different race." Id.

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     In this case, the plaintiffs allege that the TPT Program

an otherwise facially neutral law -     has been discriminatorily

applied against homeowners of color. They support this charge

with statistics showing that homeowners in communities of color

are more likely to experience in rem foreclosures under the TPT

Program than homeowners in predominantly white communities, and

that homeowners of color are the frequent targets of the TPT

Program. These allegations are sufficient at this stage.

     The plaintiffs have also carried their burden of

demonstrating that the defendants' unequal application of the

TPT Program was motivated by racial discrimination. The

plaintiffs allege that the defendants specifically targeted

homeowners of color because of racial biases, including

perceptions that people of color are "less likely to have the

resources to mount legal challenges" and to have the abilities

to fight the defendants' tactics. Am. Compl. 1 217. This is

sufficient to show discriminatory motivation, because -             drawing

all reasonable inferences in the plaintiffs' favor -          the

plaintiffs have demonstrated that the defendants intended for

the TPT Program to fall upon the shoulders of homeowners of

color, who, the defendants believed, would not be able to bear

the weight. See Glover v. City of New York, No. 15-cv-4899, 2018

WL 4906253,   at *16 (E.D.N.Y. Oct. 9, 2018)     (noting that, to show

discriminatory motivation, the plaintiff must allege that

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"decisionmakers selected or reaffirmed a particular course of

action at least in part because of, not merely in spite of, its

adverse effects upon an identifiable group,n and that "the

plaintiff need begin only by showing that race was~ motivating

factorn).     In all, the plaintiffs' allegations state a claim for

a violation of their equal protection rights at this stage in

the litigation. 8

                                 d. Due Process

        Th~ plaintiffs al~o allege that fhe defendants' ~ctioris

violated their rights to due process under both the United

States and New York State Constitutions. The plaintiffs bring

both as-applied and facial claims, and the Court considers the

federal and state claims together. See Our Wicked Lady,                2021 WL

915033, at *3 n.5.

        The Due Process Clause of the United States Constitution

provides that no state shall "deprive any person of .

property, without due process of law.n U.S. Const. amend. XIV,

§   1; see also N.Y. Const. art. I, § 6. "An essential principle

of due process is that a deprivation of life, liberty, or

property be preceded by notice and opportunity for hearing



      8 Because the Court finds that the plaintiffs state an equal protection
claim based on their discriminatory application theory, the Court does not
consider the plaintiffs 1 alternative arguments in support of their claim. The
Court also does not consider the plaintiffs' argument that the TPT Program is
discriminatorily enforced on the basis of age, because it is not clear that
the plaintiffs bring an equal protection claim on this basis, much less that
that claim would succeed.

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appropriate to the nature of the case." Cleveland Bd. of Educ.

v. Loudermill, 470 U.S. 532, 542 (1985). Where the taking of

property is concerned, due process "does not require that a

property owner receive actual notice before the government may

take his property." Jones v. Flowers, 547 U.S. 220, 226 (2006).

But the notice must be "reasonably calculated to reach the

intended recipient when sent," and "the means employed must be

such as one desirous of actually informing the absentee might

reasonably adopt to accomplish it." Id. at 226, 229; see also

id. at 239 (stating that, where "the State is exerting

extraordinary power against a property owner - taking and

selling a house he owns" - "[i]t is not too much to insist that

the State do a bit more to attempt to let him know about it when

the notice letter addressed to him is returned unclaimed"). In

determining whether notice was adequate, the Court must ask

whether the defendant thought that the plaintiff had received

notice, using a standard of objective reasonableness. Miner v.

Clinton Cnty., N.Y., 541 F.3d 464, 472 (2d Cir. 2008).

     In this case, the plaintiffs allege that they never

received notice that their properties were being foreclosed

upon, and that they therefore lacked notice that their surplus

equity was being seized. Dorce claims that the notice allegedly

sent to him was not addressed to where he lived, and was not

even addressed to any unit in the multi-unit building to which

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it was sent. Dorce claims that the City knew, or should have

known, that the address was not where he lived, and moreover

knew or should have known that Dorce did not receive notice of

the foreclosure because he continued to pay the City instalment

payments contemporaneously. Jones also claims that neither she

nor the HDFC received notice of the foreclosure. Jones claims

that the notice allegedly sent was not addressed to any person

or any unit, and did not even include the HDFC's full name. She,

too, claims that the City was aware that the notice it sent was

deficient, because, among other things, the City's records made

plain that the Nostrand Avenue HDFC had no functioning officers

or board at that time. Thomas-Murchison also claims that she

never received notice of the foreclosure proceeding, because,

among other things, the notice sent to the Madison Street HDFC

was not addressed to any particular person or unit, and the City

knew that the HDFC had no functioning officers or board. These

allegations state a claim for a violation of the plaintiffs' due

process rights. See Luessenhop v. Clinton Cnty., N.Y., 466 F.3d

259, 271-72   (2d Cir. 2006)    (stating that notice might be

inadequate where "(i) the [plaintiffs] did not receive the

notice (sent by certified mail) informing them that the

government was about to take their property,         (ii) the government

was aware that the letter was not received, and (iii) the




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government took no additional steps where it was practicable to

do so"). 9

      It is true, as the defendants argue, that "plaintiffs do

not have a due process right to actual notice of foreclosure."

Miner, 541 F.3d at 467. It is also true that a number of courts

have found notices of foreclosure, even where not actually

received by the plaintiff, sufficient. See, e.g., id. But these

cases, and the principle for which they stand, are not

dispositive here. When     a plaintiff brings an as-applied
challenge, whether notice is sufficient in a particular case is

a context-specific analysis, and depends on what the specific

defendants knew about the plaintiffs' unique circumstances, when

they knew it, and what additional steps they took -             if any -   in

response to such knowledge. More information is needed at this

stage before the Court could conclude that the plaintiffs' due

process rights were not violated. See Luessenhop, 466 F.3d at

272. The defendants' motion to dismiss, to the extent it seeks

to dismiss the plaintiffs' as-applied due process challenge, is

denied.




      9 The defendants' proffered evidence that the plaintiffs in fact

received the notices is not properly considered on this motion. The Court
also declines to consider the presumption of regularity at the motion to
dismiss stage - despite the fact that it is set forth in N.Y. Admin. Code. §
11-411 - "since presumptions are evidentiary standards that are inappropriate
for evaluation at the pleadings stage." See Haywood v. Fremont Inv. & Loan,
No. 08-cv-4961, 2009 WL 706090, at *l (E.D.N.Y. Mar. 16, 2009).

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    However, the plaintiffs' facial challenge must be

dismissed. The provision requires that notice be provided and

that owners have an opportunity to be heard. It is well settled

that "[o]nce taxpayers are provided with notice and an

opportunity to be heard on the adjudicative facts concerning the

valuation of properties subject to tax .         . they have received

all the process that is due." Sheehan v. Suffolk Cnty., 490

N.E.2d 523, 525 (N.Y. 1986); see also Miner, 541 F.3d at 474

("[D]rie process only requires notic~ of the pendency ~f th~

action and an opportunity to respond and does not require

municipalities to send additional notices as each step in the

foreclosure proceedings is completed."). While there remain

questions as to whether this process was in fact followed in the

plaintiffs' cases, there is nothing facially unconstitutional

about the TPT Program's notice provisions. Accordingly, the

motion to dismiss is granted to the extent it seeks dismissal of

the plaintiffs' facial due process challenge.

                          e. Excessive Fines

     The plaintiffs' final constitutional claim alleges that the

defendants' seizure and retention of their surplus equity

constituted an unconstitutionally excessive fine. The

plaintiffs' state and federal constitutional claims are

considered together. Cf. Ese A. O'Diah v. TBTA-Triborough Bridge




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&   Tunnel Auth., No. 19-cv-7586, 2021 WL 2581446, at *7 (S.D.N.Y.

June 23,    2021).

        The Eighth Amendment of the United States Constitution

protects against the imposition of "excessive fines." U.S.

Const. amend. VIII; see also N.Y. Const. art. I, § 5.                ''The

Eighth Amendment checks the government's power to punish," von

Hofe v. United States, 492 F.3d 175, 181 (2d Cir. 2007), and

applies to the states through the Fourteenth Amendment, Timbs v.

Indiana, 139 s. Ct. 682, 689 (2019). To determine whether a

financial penalty is excessive under the Eighth Amendment,

courts in the Second Circuit use a two-step inquiry. See Farina

v. Metro. Transp. Auth., 409 F. Supp. 3d 173, 194 (S.D.N.Y.

2019)    (citing United States v. Viloski, 814 F.3d 104, 108 (2d

Cir. 2016)). "First, a court must consider whether the payment

or forfeiture at issue constitutes a 'fine,' meaning that it is

punitive in nature and not purely 'remedial.'" Id.                (quoting

Viloski,    814 F.3d at 109). A fine may be punitive where it

imposes an economic penalty on the person for that person's

actions, and seeks to deter future wrongdoing. See Austin v.

United States, 509 U.S. 602, 610, 618           (1993). By contrast, a

fine is remedial if it is "intended only to compensate the

government for lost revenue." Farina, 409 F. Supp. 3d at 198

(quoting Viloski, 814 F.3d at 109). "Second, a court weighs four

factors to determine whether the fine is 'grossly

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disproportional' to the underlying offense." Id. at 194 (quoting

Viloski, 814 F.3d at 110). This analysis is guided by four non-

exhaustive factors:

      (1) the essence of the [underlying offense] of the
      [complainant]   and its relation to other criminal
      activity, ( 2) whether the [complainant] fits into the
      class of persons for whom the statute was principally
      designed, ( 3) the maximum sentence and fine that could
      have been imposed, and (4) the nature of the harm caused
      by the [complainant's] conduct.

Id. at 199. "Ultimately, whether a fine is excessive

·involves solely a proportionality-determination." Id. at 194.

      In this case, the plaintiffs have stated a plausible claim

for violation of the Excessive Fines Clause. First, the

plaintiffs have plausibly alleged that the retention of their

surplus equity is a fine, because its purpose is at least partly

punitive. The plaintiffs allege that the purpose of the

defendants' retention of the surplus equity is to punish

citizens for not paying their taxes. The plaintiffs substantiate

this allegation by pointing to the discrepancy between the taxes

owed on the properties seized in the TPT Program, and the amount

of equity the owners had in those properties. The plaintiffs

argue that, because the amount of equity in the properties often

far exceeds the amount of tax liability owed, the retention

cannot merely be compensatory to the government for its loss,

but serves a retributive or deterrent function. These

allegations are sufficient at this stage. See Timbs, 139 S. Ct.

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at 690 ("[C]ivil in rem forfeitures are fines for purposes of

the Eighth Amendment when they are at least partially

punitive."); cf. Farina, 409 F. Supp. 3d at 198 ("The Complaint

alleges that defendants administer fees and penalties that are

multiples of the actual toll, and that the fees far exceed the

costs of locating and contacting the driver to collect an unpaid

toll. These are non-conclusory factual allegations that, if

accepted as true, would support a deterrent or retributive

purpose, as opposed to an ej:clusively remedial one."). 10 -

      Second, the "fine" constituting the retention of a former

homeowner's entire surplus equity, as alleged, is

disproportionate to the tax offense. In Dorce's case, he is

alleged to have owed approximately $45,132.73 in taxes, but his

property worth approximately $226,000 was taken in its entirety.

In Jones' case, the Nostrand Avenue HDFC owed $160,760.20 in

taxes, but the property was worth $736,000 when seized. And in

the case of Thomas-Murchison, the Madison Street HDFC owed

$110,352.44 in charges, but was worth approximately $398,000

when taken. In each case, the plaintiffs allege that the value

of the property taken - and therefore the amount of the fine



      10 The defendants argue in opposition that the retention is not punitive

or deterrent, but merely serves as an "incentive to encourage prompt payment
of taxes." City Defs. 1 Reply 7, ECF No. 128. But incentivizing prompt payment
is merely another way of saying deterring late payment, which \'reflects a
purpose that is deterrent in part, and therefore punitive, as opposed to
furthering the sole goal of compensating for lost revenue." See Farina, 409
F. Supp. 3d at 198.

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imposed - was substantially more than the taxes owed.

Considering the amount of the fine in light of the "essence" of

the underlying    offense and its relation to other criminal

activities, the fine is disproportionate, and the first factor

therefore weighs in favor of the plaintiffs. Indeed, "there is

no indication that [the plaintiffs'] fines were paid to address

any civil or criminal violations" beyond the non-payment of

certain taxes, "or that [the plaintiffs'] conduct threatened

public -safety": the plaintiffs' underlying offenses are

"unrelated to any other illegal activities." See Ese A. O'Diah,

2021 WL 2581446, at *6. The fourth factor also weighs in the

plaintiffs' favor, because the defendants have identified no

harms caused by the plaintiffs' underlying offenses, and the

harms plausibly caused by the plaintiffs' conduct likely

"affected only one party, the [g]overnment, and in a relatively

minor way." See id. While the second factor weighs in the

defendants' favor because the plaintiffs are within the class of

people that the fines are meant to regulate, and the third

factor is at best neutral because it is not clear what other

penalties could have been imposed on the plaintiffs, the balance

of the factors show that the plaintiffs have stated a claim that

the seizure of the surplus equity was a disproportionate fine.

The defendants' motion to dismiss, to the extent it seeks to




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dismiss the plaintiffs' excessive fines claims, is accordingly

denied.

                    2. New York State Law Claims

                a. Conversion and Unjust Enrichment

     The plaintiffs also bring claims under New York State law,

including for conversion and unjust enrichment. The defendants

dispute only the timeliness of the plaintiffs' claims and

whether the defendants' exercise of control over the plaintiffs'

surplus equity is "unauthorized" or inequitable so as to

constitute conversion and unjust enrichment, respectively. But

neither of these arguments are persuasive at this stage.

     First, the statute of limitations does not require

dismissal of the plaintiffs' claims. The statute of limitations

for conversion is three years, N.Y. C.P.L.R. § 214(3), and the

three-year period ordinarily runs from the date of the

conversion. Wei Su v. Sotheby's, Inc., 490 F. Supp. 3d 725, 729

(S.D.N.Y. 2020). The parties appear to agree that the same

limitations period applies to the plaintiffs' unjust enrichment

claim, and the Court accepts that a three-year limitations

period should apply. See Sater, 503 F. Supp. 3d at 64-66.

However, a pre-answer motion to dismiss on the ground of

untimeliness "may be granted only if it is clear on the face of

the complaint that the statute of limitations has run." Fargas




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v. Cincinnati Mach., LLC, 986 F. Supp. 2d 420, 427            (S.D.N.Y.

2013).

     In this case, the earliest date on which the plaintiffs'

properties, together with their surplus equity, were converted

was the date on which the properties were transferred to the TPT

Defendants. For Dorce and Jones, this transfer occurred in

September 2018; their claims for conversion and unjust

enrichment are therefore timely. While Thomas-Murchison's

property was first transferred in August 2012, and her claims

may therefore be untimely, it is not sufficiently clear that

this is so. See id. In particular, Thomas-Murchison alleges that

she had no reason to know of the transfer of her HDFC until

April 2016, and she suggests that equitable tolling might also

salvage her claims. Because it is not clear on the face of the

complaint whether these defenses apply, it is premature to

determine that the claim is untimely. See Sater, 503 F. Supp. 3d

at 64.

     Second, the plaintiffs have adequately alleged that the

defendants exercised "unauthorized" dominion over their surplus

equity, and that this dominion is also inequitable.

Specifically, the plaintiffs allege that the defendants had no

authority to retain the plaintiffs' surplus equity, which is

sufficient at this stage. Cf. Hinds v. Option One Mortg. Corp.,

No. ll-cv-06149, 2012 WL 6827477, at *7 (E.D.N.Y. Dec. 6, 2012)

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(dismissing claim for unjust enrichment because the plaintiff

"made no allegations that [the defendants] ha[d] improperly

retained any surplus from the sale beyond the loan funds and

additional out-of-pocket expenses to which they [were]

entitled"), report and recommendation adopted, 2013 WL 132719

(E.D.N.Y. Jan. 10, 2013). The defendants cite to no case that

immunizes defendants from conversion and unjust enrichment

claims based on the alleged wrongful withholding of surplus

equity simply because there was a lawful underlying taking. See

Ese A. O'Diah, 2021 WL 2581446, at *8 (rejecting claim that

"conduct sanctioned by law cannot be the subject of an unjust

enrichment claim"). Because the plaintiffs have adequately

alleged that the defendants converted the plaintiffs' surplus

equity, and that the defendants were thereby unjustly enriched,

the defendants' motion to dismiss, to the extent it seeks

dismissal of these claims, is denied.

                        c. Deceptive Practice

     The plaintiffs additionally allege that the defendants'

conduct constituted a deceptive practice in violation of New

York General Business Law§ 349 ("GBL § 349"). The plaintiffs

allege that the defendants' conduct in administering the TPT

Program misled homeowners like themselves.

     GBL § 349 makes unlawful "[d]eceptive acts or practices in

the conduct of any business, trade or commerce," and creates a

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private right of action under which a litigant may recover

damages. See N.Y. Gen. Bus. Law§ 349(a),        (h)   To state a claim

under this statute, "a plaintiff must allege (1) that the

defendant's acts were consumer oriented,       (2) that the acts or

practices are deceptive or misleading in a material way, and (3)

that the plaintiff has been injured as a result." Goldemberg v.

Johnson   &   Johnson Consumer Cos., Inc., 8 F. Supp. 3d 467, 478

(S.D.N.Y. 2014). An act is consumer oriented where it has the

"potential to affect the public at large, as distinguished from

merely a private contractual dispute." Elacqua v. Physicians'

Reciprocal Insurers, 860 N.Y.S.2d 229, 231 (App. Div. 2008); see

also Securitron Magnalock Corp. v. Schnabolk, 65 F.3d 256, 264

(2d Cir. 1995)     ("The critical question, then, is whether the

matter affects the public interest in New York(.]"). "Based on

this standard, courts have found sufficient allegations of

injury to the public interest where plaintiffs plead repeated

acts of deception directed at a broad group of individuals." New

York v. Feldman, 210 F. Supp. 2d 294, 301 (S.D.N.Y. 2002)

(collecting cases).

     In this case, the plaintiffs have stated a claim for

violation of GBL § 349. The defendants dispute only whether the

defendants' actions in conducting the TPT Program were consumer

oriented. However, the acts alleged here - targeting homeowners

of color in order to seize their properties and surplus equity

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in an attempt to manipulate the public housing market -           affect

the public interest, and are therefore cognizable under§ 349.

See id. The plaintiffs allege that the defendants' unlawful

administration of the TPT Program has affected homeowners of

color across New York, and has resulted in injury to the public

at large - "perpetuat[ing] racial gaps in homeownership," see

Am. Compl.   ~   228 - and to the plaintiffs in particular. These

allegations are sufficient at this stage. See Feldman, 210 F.

Supp. 2d at 301-02. Because the defendants do not other~ise

dispute the plaintiffs' allegations under GBL § 349, the

plaintiffs have satisfied their burden of pleading a violation

of§ 349. The motion to dismiss, to the extent it seeks to

dismiss the plaintiffs' claim pursuant to GBL § 349, is denied.

                       d. Municipal Horne Rule Law

     As to the City Defendants only, the plaintiffs additionally

claim that the administration of the TPT Program is ultra vires

because it violates the Municipal Home Rule Law. The plaintiffs

allege that the City's seizure and retention of surplus equity

through the TPT Program exceeds the City's powers as delegated

by New York State.

     Taking the plaintiffs' allegations as true, the plaintiffs

state a claim for violation of the Municipal Home Rule Law,

because they allege that Local Law No. 37, and the TPT Program

that it created, are inconsistent with the New York State

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Constitution for the reasons described above. See Kamhi v. Town

of Yorktown, 547 N.E.2d 346, 348           (N.Y. 1989). Accordingly, the

motion to dismiss, to the extent it seeks dismissal of the

plaintiffs' Municipal Home Rule Law claim, is denied. 11

                                3. Conspiracy

      Finally, complementary to their direct constitutional and

state law claims, the plaintiffs allege that the defendants

unlawfully conspired against them in violation of both 42 U.S.C.

§ 1985 and New York State law.

                               a. Federal Claim

      Section 1985(3) creates a cause of action where "two or

more persons in any State .         . conspire .          for the purpose

of depriving         . any person or class of persons of the equal

protection of the laws, or of equal privileges and immunities

under the laws." 42 U.S.C. § 1985(3). To state a claim under

§ 1985(3), a plaintiff must allege

      (1) a conspiracy (2) for the purpose of depriving a person
      or class of persons of the equal protection of the laws,
      or the equal privileges and immunities of the laws; ( 3)
      an overt act in furtherance of the conspiracy; and (4)
      an injury to the plaintiff's person or property, or
      deprivation of a right or privilege of a citizen of the
      United States.

Thomas v. Roach, 165 F.3d 137, 146 (2d Cir. 1999). In addition,

§ 1985(3) requires a plaintiff to allege that he or she is a


      11 It is unnecessary to reach the plaintiffs' alternative argument that
the City Defendants violated the Municipal Home Rule Law because they acted
without express delegation from the State Legislature.

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member of a protected class and that the conspirators acted with

racial or otherwise class-based "invidiously discriminatory

motivation.n Griffin v. Breckenridge, 403 U.S. 88, 102 (1971)

     In this case, the plaintiffs adequately allege a conspiracy

pursuant to§ 1985(3). The plaintiffs adequately allege an

agreement between the TPT Defendants and the City Defendants to

deprive communities of color of their homes and their surplus

equity. Specifically, the plaintiffs allege that the defendants

have- an express agre-ement whereby the--TPT Defendants agree to

accept properties foreclosed upon by the City Defendants, and

the defendants coordinate in advance concerning the selection of

properties for inclusion in the TPT Program. The plaintiffs have

also adequately alleged overt acts in the furtherance of this

conspiracy -   at the least, the alleged takings of the named

plaintiffs' homes and their surplus equity - and resulting

injuries to the plaintiffs in the form of the loss of their

properties and surplus equity. Finally, the plaintiffs have

alleged that they are members of a protected class - namely,

racial minorities - and that the conspirators acted with racial

motivation for the reasons explained in their equal protection

claim. These allegations suffice at this stage to carry the

plaintiffs' burden. See Cent. UTA of Monsey v. Vill. of Airmont,

N.Y., No. 18-cv-11103, 2020 WL 377706, at *20-21 (S.D.N.Y. Jan.

23, 2020). The defendants' motion to dismiss, to the extent it

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seeks to dismiss the plaintiffs' conspiracy claim pursuant

§   1985(3), is therefore denied. 12

                                 b. State Claim

        "It is a well-settled and often repeated principle of New

York law that no cause of action lies for civil conspiracy."

Aetna Cas. & Sur. Co. v. Aniero Concrete Co.,           404 F.3d 566, 591

(2d Cir. 2005). While a conspiracy may be alleged "to connect a

defendant to an otherwise actionable tort," a plaintiff may not

"reallege a tort asserted elsewhere in the complaint in the

guise of a separate conspiracy claim." Id. "As this is precisely

what [the plaintiffs have] attempted to do, and as the purported

purpose of [their] conspiracy claim is already advanced by the

allegations of conspiracy set forth elsewhere in [their]

complaint, this claim is dismissed as to all defendants." Id.

The motion to dismiss, to the extent it seeks to dismiss the

plaintiffs' civil conspiracy claim, is accordingly granted.

                                      IV.

        The defendants finally argue that the plaintiffs may only

seek damages for their surplus equity given their express

limitation of claims for compensation to the amount of their

surplus equity before the court of appeals. Based on the court

of appeals' holdings with respect to the Rooker-Feldman doctrine


      12 To the extent that the defendants seek to dismiss the plaintiffs'
claim as untimely, this argument is rejected for the same reason it was
rejected as to the plaintiffs' unjust enrichment and conversion claims.

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and otherwise, it is plain that the plaintiffs are limited to

damages in the amount of the excess of the value of the property

over the taxes due.

     While it is not clear what other damages the plaintiffs

seek, the plaintiffs would be entitled to nominal damages if

they could prove a constitutional violation and no actual

damages. See Smith v. Coughlin, 748 F.2d 783, 789 (2d Cir. 1984)

("[Elven when a litigant fails to prove actual compensable

injury, he is entitled to an award of nominal damages upon proof

of violation of a substantive constitutional right."). However,

punitive or exemplary damages are barred against the City. See

City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 271

(1981); Morris v. Lindau, 196 F.3d 102, 112 (2d Cir. 1999)

Moreover, to the extent that the plaintiffs seek to collect

punitive or exemplary damages from the individual City

Defendants in their official capacities, as opposed to their

individual capacities, those claims are also barred. See Ivani

Contracting Corp. v. City of New York, 103 F.3d 257, 262            (2d

Cir. 1997).

                               CONCLUSION

     The Court has considered all of the arguments of the

parties. To the extent not specifically addressed above, they

are either moot or without merit.




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     For the foregoing reasons, the defendants' motion to

dismiss is granted in part and denied in part. The Clerk is

directed to close Docket Nos. 112 and 118.



SO ORDERED.

Dated:    New York, New York
          June 24, 2022
                                                John G. Koeltl
                                        Uni'te d States District Judge




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